Filed 10/10/19                                                 Case 19-21640                                                               Doc 142

EDC.002−780C         Notice to File Documents in Converted Case (v.4.16)                                                               USBC,EDCA

                                         UNITED STATES BANKRUPTCY COURT
                                              Eastern District of California

                              NOTICE TO FILE DOCUMENTS IN CONVERTED CASE

In re
                                                                                                                         Case Number
           Debora Leigh
           Miller−Zuranich                                                                                        19−21640 − B − 7

                                                                                    Debtor(s).


        The bankruptcy case originally filed in this court under chapter 11 by the above−named debtor(s) was converted to a case
        under chapter 7 on 10/9/19. The Bankruptcy Code and Federal Rules of Bankruptcy Procedure require that debtors file
        additional documents after conversion of their case from one chapter to another.




             The following document(s) must be received by the bankruptcy clerk's office by 10/24/19:
             Form 122A−1 Statement of Monthly Income
             If a Statement of Intention (Form 8) is required, it must be filed within 30 days after entry of the order of conversion or
             before the first date set for the meeting of creditors, whichever is earlier.

        NOTICE IS HEREBY GIVEN that you must comply with the above requirement(s) by the date(s) indicated. Extensions of time
        can only be granted by proper motion to and approval of the Court. Pursuant to Federal Rule of Bankruptcy Procedure
        9006(b)(1), applications for extensions of time must be filed prior to the expiration of the prescribed periods. Document(s) and
        the required number of copies must be filed with the Clerk, by mail or in person, at the address shown below.
        THIS IS THE ONLY NOTICE YOU WILL RECEIVE. If you fail to timely comply with the above listed requirement(s) and/or
        obtain a Court approved extension of time within which to comply, action may be initiated to dismiss the case. If you have
        already complied with the above requirement(s), please disregard this notice.

        Dated: 10/10/19                                               Wayne Blackwelder Clerk,
                                                                      BY: fdis , Deputy Clerk
                                                                      U.S. Bankruptcy Court
                                                                      Robert T Matsui United States Courthouse
                                                                      501 I Street, Suite 3−200
                                                                      Sacramento, CA 95814
                                                                      (916) 930−4400
        The Deputy Clerk whose ID appears above certifies that on 10/10/19 , a copy of this order was returned to
                       FOR ADDITIONAL INFORMATION CONCERNING REQUIRED DOCUMENTS, SEE PAGE 2.
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                                  ADDITIONAL INFORMATION CONCERNING REQUIRED DOCUMENTS


Attorney's Disclosure Statement (Form 2030): Any attorney representing a debtor shall file with the court a statement of the compensation
paid, or agreed to be paid, if such payment or agreement was made after one year before the date of the filing of the petition, for services
rendered or to be rendered, in contemplation of or in connection with the debtor's bankruptcy case, and the source of the compensation. 11
U.S.C. sect; 329 or and FRBP 2016(b).
Chapter 12 Plan: Chapter 12 debtor's shall file a plan. 11 U.S.C. § 1221 and FRBP 3015(a).
Chapter 13 Plan (Form EDC 3−080): Chapter 13 debtors shall file a plan using the standard form Chapter 13 Plan (EDC Form 3−080)
prescribed by General Order 05−03.
Chapter 15 List per BR 1007: A list containing the name and address of all administrators in foreign proceedings of the debtor, all parties to
any litigation in which the debtor is a party and that is pending in the United States at the time of the filing of the petition, and all entities
against whom provisional relief may be sought under 11 U.S.C. § 1519 shall be filed by the foreign representative with a petition for
recognition under chapter 15. FRBP 1007(a)(4).
Chapter 11 Individual: List of Creditors Who Have the 20 Largest Unsecured Claims Against You and Are Not Insiders (Official
Form 104): A list containing the names, addresses and claim amounts of the debtor's 20 largest unsecured creditors, excluding insiders,
prepared as prescribed by Official Form 104.
List − Equity Security Holders: A List of Equity Security Holders shall be filed in chapter 11 cases. FRBP 1007(a)(3).
Verification and Master Address List: With every petition for relief under the Bankruptcy Code presented for filing, there shall be submitted
concurrently a Master Address List which includes the name, address, and zip code of all of the debtor's known creditors. To accommodate
modern technology, the Master Address List shall be prepared in strict compliance with instructions of the Clerk in a format approved by the
Court. Local Bankruptcy Rule 1007−1(b). Instructions concerning the preparation of Master Address Lists are set forth in forms EDC 2−190
and EDC 2−195. Debtors represented by legal counsel, or whose petitions are prepared by a bankruptcy petition preparer, must submit an
electronic Master Address List. All other debtors must submit either an electronic Master Address List or a hard copy Master Address List
printed on paper. The debtor shall concurrently submit a Verification of Master Address List, form EDC 2−100, with every Master Address
List presented for filing.
Statement of Current Monthly Income (Official forms 122A, 122B, and 122C): A statement of current monthly income, prepared as
prescribed by the appropriate Official Form, shall be filed with the petition or within 14 days, by individual chapter 7 debtors with primarily
consumer debts (Official Form(s) 122A−1 [and 122A−1 Supp and 122A−2, if required]), individual chapter 11 debtors (Official Form 122B),
and chapter 13 debtors (Official Form(s) 122C−1 [and 122C−2, if required]).
Schedule A/B − Property (Official Form 106A/B), Schedule C − The Property you Claim as Exempt (Official Form 106C), Schedule D
− Creditors Who Have Claims Secured By Property (Official Form 106D), Schedule E/F − Creditors Who Have Unsecured Claims
(Official Form 106E/F), Schedule G − Executory Contracts and unexpired Leases (Official Form 106G), Schedule H − Your
Codebtors (Official Form 106H), Schedule I − Your Income (Official Form 106I), and Schedule J − Your Expenses (Official Form
106J), Summary of Your Assets and Liabilities and Certain Statistical Information (Official Form 106Sum): Except in a chapter 9
municipality case, schedules of assets and liabilities, executory contracts and unexpired leases, current income, and current expenditures,
prepared as prescribed by Official Form 6, shall be filed by the debtor. 1 U.S.C. § 521(a)(1)(B) and FRBP 1007(b)(1). Creditors shall be listed
on the appropriate schedule in alphabetical order by name and complete address. LBR 1007−1(a).
Statement of Financial Affairs (Official Form 107): Except in a case under chapter 9, the debtor shall file a Statement of Financial Affairs,
prepared as prescribed by Official Form 7. 11 U.S.C. § 521(a)(1)(B) and FRBP 1007(b)(1).
Statement of SSN (Official Form 121): Individual debtors must file a statement under penalty of perjury setting out the debtor's full social
security number or stating that the debtor does not have a social security number, prepared in substantial compliance with Official Form 121.
11 U.S.C. § 521(a)(1) FRBP 1007(f).
Certificate of Completion of Credit Counseling Briefing: Federal Rule of Bankruptcy Procedure 1007 (b) (3) and (c) require that
individual debtors file with the petition a certificate of completion of credit counseling or an indication that they are not required to do so.
Statement Re: Corporate Debtor (Form EDC 3−500): Federal Rule of Bankruptcy Procedure 1007(a)(1) requires corporate debtors to file
with the petition a corporate ownership statement containing the information described in FRBP 7007.1.
Statement of Intention (Official Form 8): A Statement of Intention is required only if the debtor is an individual and the schedules of assets
and liabilities contain consumer debt secured by property of the estate. It must be prepared as prescribed by Official Form 8 and filed within
30 days after entry of the order of conversion or before the first date set for the meeting of creditors, whichever is earlier.
